                   Case 3:24-mj-00010-GLS Document 1 Filed 01/09/24 Page 1 of 1

/\0 91 (Rev 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of Puerto Rico

                  United States of America                        )
                                V.                                )
                                                                  )      Case No. 24-0010 (M)
                (1 )EZEQUIEL OLIVO BIDO
           (2)RICARDO FERNANDEZ ULLOA                             )
            (3)ROBERTO ANDINO TREMOLS                             )
          (4)BRYAN JOEL DIAZ HERNANDEZ                            )
         (5)JUNIOR ALCANTARA ESCOBOSO                             )
                          De/endc1111(r)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case. state that the following is true to the best ofmy knowledge and belief.
On or about the clate(s) of _____0_ 1_/ 0_ _8/_ 20_ 2_ 4_ _____ in the county of ___________ in the
                       District of ---------
                                     Puerto Rico , the defendant(s) violated:

             Code Section                                                  Offense Description
18 U.S.C. §§ 922(0) &18 U.S.C. §§              Possession of a machine-gun, Aiding and Abetting (1 )-(5)
2
18 U.S.C. §§ 922(g)(5)(A)                      Alien in possession of a machine gun (5)




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT. The government is seeking detention
Reviewed by SAUSA Carlos J. Romo Aledo




          � Continued on the attached sheet.




                                                                         ------
                                                                                                                Agent
                                                                                   Fabiola D. Colon HSI Special___::. ____
                                                                                            Pm11ed 1w111e and rir/e

Suscribed and Sworn pursuant to FRCP 4. 1 at
1:32 p.m. by telephone on
                                                                                                       Digitally signed by Hon.
Date:     January 9, 2024                                                                              Giselle Lopez-Soler
                                                                                              Judge ·s signarure

City and state:                      San Juan,Puerto Rico                       Hon. Giselle López-Soler, Magistrate Judge
                                                                                            Primed name and title
